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 5   Attorney for Defendant
     Bruce Baker
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 7
 8                            UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10                         (HONORABLE CYNTHIA A. BASHANT)
11   UNITED STATES OF AMERICA,                  )      Criminal Case No. 20CR1912-BAS
     OF CALIFORNIA,                             )
12                                              )
                          Plaintiff,            )      PROOF OF SERVICE
13                                              )
     v.                                         )
14                                              )
     BRUCE BAKER,                               )
15                                              )
                          Defendant.            )
16                                             )
17          I am a citizen of the United States and a resident of San Diego, California. I am over
18   the age of eighteen years and am not a party to the above-entitled action.
19          On May 28, 2021, I served the following documents:
20          •      DEFENDANT’S SENTENCING MEMORANDUM
21          •      DEFENDANT’S SENTENCING SUMMARY CHART
22          BY ELECTRONIC FILING TO:
23          Michelle L. Wasserman
24          Michelle.Wasserman@usdoj.gov,CaseView.ECF@usdoj.gov,nicole.campana@us
            doj.gov,Efile.dkt.mf@usdoj.gov
25
26   ///
27   ///
28   ///

                                                                                   21CR1912-BAS
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 1        I declare under penalty of perjury that the foregoing is true and correct.
 2   DATED: May 28, 2021                             Respectfully submitted,
 3
                                                       s/Thomas J. Warwick, Jr.
 4                                                   THOMAS J. WARWICK, JR.
                                                     Attorney for Defendant
 5                                                   Bruce Baker
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